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                           Exhibit 40
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Cleaner Air

 Cleaner Air                                                                        Related Links
                                                                                          EPA's Air Quality Trends
                                                                                          EPA's Guidance on Improving
                                                                                          Air Quality through Land Use
                                                                                          Activities
                                                                                          Alternative Fuels Data Center
                                                                                          National Environmental Public
                                                                                          Health Tracking Network
                                                                                          EPA’s Resources for State and
                                                                                          Local Governments
                                                                                          Federal Highway
                                                                                          Administration’s Air Quality
 Photo credit: www.pedbikeimages.org   / Laura Sandt                                      Site


 Relationship to public health                                                      Transportation and
                                                                                    Health Tool
 Motor vehicles are a leading source of air pollutants that affect human health.
 Vehicle emissions contribute to the formation of ground level ozone (smog),        Contact Info
 which can trigger health problems such as aggravated asthma, reduced lung
 capacity, and increased susceptibility to respiratory illnesses, including
                                                                                    Contact Us
 pneumonia and bronchitis. Motor vehicles, particularly those used for freight,
                                                                                    Transportation and Health Tool
 are also a major source of fine particulate matter.
                                                                                    Office of Policy
 Many scientific studies have linked breathing particulate matter to significant    tht@dot.gov
 health problems, including asthma, chronic bronchitis, and heart attacks.          1200 New Jersey Avenue, SE
 Diesel particulate matter is of particular concern because long-term exposure is   Washington, DC 20590
 likely to cause lung cancer. Levels of traffic-related air pollution are higher    United States
 near major roadways that have high traffic volume.                                 Business hours:
                                                                                    9:00am-5:00pm ET, M-F
 Transportation agencies and local jurisdictions can reduce traffic-related air
 pollution and improve air quality in five ways:
                                                                                    Share
     1. Develop cleaner travel options through measures such as expanding
        public transportation systems, improving public transportation service,
        and developing or improving bicycling and pedestrian infrastructure.
     2. Reduce the distance between key destinations required to satisfy
        daily needs through more efficient land use planning and zoning,
        making it more attractive and convenient to walk or bicycle instead of
        using motor vehicles for transportation.
     3. Create or support clean fueling infrastructure, such as electric
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      vehicle charging and hydrogen fueling stations.
   4. Manage the transportation system to increase vehicle and system
      operating efficiency through measures such as anti-idling policies,
      improved incident response, real-time travel information for public
      transportation, and congestion management.
   5. Buy green fleet vehicles and equipment, including equipment with
      increased fuel efficiency, hybrid electric vehicles, and equipment that
      runs on clean fuels.

The Transportation and Health Tool focuses on measures to improve air quality
by developing cleaner travel options.


Related indicators in the THT
Commute mode share describes the percentage of workers who commute by
public transportation, bicycle, or foot, all of which pollute less than driving.

Miles traveled by mode describes the relative distance that people travel
using modes that produce less pollution than driving.

Vehicle miles traveled (VMT) per capita provides a measure of how much
the average person drives. As VMT per capita fall, so do pollutant emissions
from passenger vehicles.

Proximity to major roadways describes the proportion of the population of a
metropolitan area or state that lives within 200 meters of a roadway that has
at least 125,000 annual average daily traffic (AADT). That represents the
population with increased exposure to concentrations of traffic-related air
pollution.

Public transportation trips per capita describes how often people ride public
transportation, which produces fewer emissions than driving.


Resources
Environmental Protection Agency's Air Quality Trends

The Environmental Protection Agency (EPA) provides current and historic data
on air quality trends for the pollutants regulated by the agency, including
modeled air quality data and data from local ambient air quality monitors.
Information is also available on sources, health effects, and programs to
reduce individual pollutants.

Read More

Environmental Protection Agency Guidance on Improving Air Quality
through Land Use Activities

This EPA guidance presents the conditions under which the benefits of land
use activities could be included in air quality and transportation planning
processes. Land use activities are a tool to encourage the development of land
use policies and projects that improve livability in general, and air quality in
particular.

Read More
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Alternative Fuels Data Center

The U.S. Department of Energy's Alternative Fuels Data Center provides
information on using biodiesel, electricity, ethanol, hydrogen, natural gas, and
propane to fuel vehicles. For each fuel, the site provides information on
benefits and considerations, vehicles that use the fuel, and laws and incentives
that support increased use of the fuel. The site also contains maps to help users
locate alternative fueling stations.

Read More

National Environmental Public Health Tracking Network

CDC’s National Environmental Public Health Tracking Network provides a
variety of state- and county-level health data, including summaries of EPA air
quality data on particulate matter and ozone levels.

Read More

Environmental Protection Agency’s Resources for State and Local
Governments

EPA’s Office of Transportation and Air Quality provides guidance, tools, and
information on funding sources to help state and local governments improve
air quality.

Read More

Federal Highway Administration’s Air Quality Site

The Federal Highway Administration provides information on how air
pollutants are regulated through federal transportation planning and funding
processes, and information on funding sources available for projects that
improve air quality.

Read More


Research Studies
Traffic-Related Air Pollution: A Critical Review of the Literature on
Emissions, Exposure, and Health Effects

This comprehensive review describes the available research investigating the
link between exposure to vehicle pollution and several different health
outcomes, including cardiovascular health, lung function, and birth outcomes.

Health Effects Institute. 2010. Traffic-related air pollution: a critical review of the
literature on emissions, exposure, and health effects.

Potential Health Effects Associated with Residential Proximity to Freeways
and Primary Roads: Review of Scientific Literature, 1999-2006

The authors provide a comprehensive review of literature on the health effects
of living near high traffic volume roadways.

Boothe VL, Shendell DG. Potential health effects associated with residential
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proximity to freeways and primary roads: review of scientific literature, 1999-
2006. Journal of Environmental Health 2008;70:33-41;55-56.

Conserving Energy and Preserving the Environment: The Role of Public
Transportation

This report compares the air pollution impacts of public transportation and
passenger vehicles on a per passenger mile basis.

Shapiro RJ, Hassett KA, Arnold FS. Conserving energy and preserving the
environment: the role of public transportation. American Public Transportation
Association; 2002.

Fine-Particulate Air Pollution and Life Expectancy in the United States

This report estimates the impact of reducing particulate pollution on life
expectancy using data from U.S. counties and metropolitan areas.

Pope CA, Ezzati M, Dockery D. Fine-particulate air pollution and life expectancy
in the United States. New England Journal of Medicine 2009;360(4):376-386.

Effects on Respiratory Health of a Reduction in Air Pollution from Vehicle
Exhaust Emissions

The authors examine the effects of vehicle exhaust on people who live near
roadways. They compare pollution concentrations and respiratory surveys in a
neighborhood before and after construction of a bypass intended to reduce
congestion.

Burr ML, Karani G, Davies B, Holmes BA, Williams KL. Effects on respiratory
health of a reduction in air pollution from vehicle exhaust emissions.
Occupational and Environmental Medicine 2004;61(3):212-218.

A Census of the US Near-Roadway Population: Public Health and
Environmental Justice Considerations

This report examines the population, location, and demographic characteristics
of communities living near high traffic volume roadways.

Rowangould G. A census of the US near-roadway population: public health and
environmental justice considerations. Transportation Research Part D: Transport
and Environment 2013;25:59-67.

Updated: Monday, October 26, 2015

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